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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

UNITED STATES OF AMERICA

-vs-                                                                      Case No. 8:94-cr-65-T-24

JANICE WEEKS-KATONA

___________________________________/

                                              ORDER
       This cause comes before the Court on Defendant Janice Weeks-Katona’s motion titled,
“Motion Per FRCivP 60(b)(5).” (Doc. No. 501). Defendant Janice Weeks-Katona was
convicted, and in August of 1996, she was sentenced to 292 months of imprisonment and
ordered to pay restitution in the amount of $3,311,000. (Doc. No. 432). She filed the instant
motion, which the Court construes as a motion to release her from imprisonment, since she has
attempted to pay the $3,311,000 in restitution. It appears that Defendant Weeks-Katona believes
that she is being held as secured collateral (via imprisonment) until the restitution is paid.
However, Defendant Weeks-Katona’s belief that she is being held as secured collateral is
incorrect, and regardless of whether she has paid the restitution, such would not entitle her to be
released from imprisonment prior to her serving her sentence. Accordingly, it is ORDERED
AND ADJUDGED that her motion is DENIED.

       DONE AND ORDERED at Tampa, Florida, this 17th day of August, 2006.




Copies to:
Counsel of Record
